Case 1:17-cv-O4179-DLC Document 100 Filed 03/29/18 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

______________________________________ X

17CV4179(DLC)
SECURITIES & EXCHANGE COMMISSION,

SCHEDULING ORDER
Plaintiffs,

_V_

 

  
 

ALPINE SECURITIES CORPORATION,

 

§.1"§:§:{. ..§:.§‘ 'e§v " w
§il :£‘§¥htwekr*§§!,! §§li§}
D§H:§§

______________________________________ X §§Hj?§“§;;;§`é§ £;méZQ£-m

DENISE COTE, DiStrict Judge:

Defendant.

. ..~._.--d
Wv¢...:\..-..-“w-M“»-*~"

 

 

 

 

Having received the plaintiff’a March 23 letter, it iS

hereby

ORDERED that a telephone conference With the Court will be

held en March 30, 2018 at 2:00 p.m. EST. Counael for the

plaintiff ahall have all parties en the line and call chambers

 

at 212-805-0202.

 

SO ORDERED:

Dated: New York, New York
March 29, 2018

jim jt
DE,;<IISE COTE
United States Diatrict Judge

